           Case 2:23-cv-00086-CCW Document 47 Filed 08/04/23 Page 1 of 2




                          IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF PENNSYLVANIA

KATELYN D. EDWARDS,
                                                             2:23-CV-00086-CCW
                   Plaintiff,

           v.

CALIFORNIA UNIVERSITY OF
PENNSYLVANIA, PENNSYLVANIA
WESTERN UNIVERSITY, GERALDINE M.
JONES, STUDENT ASSOCIATION, INC.,
GREYSTAR DEVELOPMENT SERVICES,
LLC, GREYSTAR STUDENT LIVING
MANAGEMENT SERVICES, LLC, JARED
SHINER, GARY W. DUNN, KAREN
HJERPE,

                   Defendants.



                                       AMENDED ORDER
       For the reasons stated in the Court’s Opinion filed contemporaneously herewith, IT IS

HEREBY ORDERED that the Motions to Dismiss filed by (1) California University of

Pennsylvania, Pennsylvania Western University, Geraldine M. Jones, Gary W. Dunn, and Karen

Hjerpe, ECF No. 15, (2) Student Association, Inc., ECF No. 9, and (3) Greystar Student Living

Management Services, LLC, ECF No. 11, are GRANTED IN PART and DENIED IN PART as

follows:

                1. Counts Five, Six, and Seven of the Complaint are DISMISSED WITHOUT

                   PREJUDICE as to California University of Pennsylvania, Pennsylvania Western

                   University, Geraldine M. Jones, Gary W. Dunn, Karen Hjerpe, and Student

                   Association, Inc.
         Case 2:23-cv-00086-CCW Document 47 Filed 08/04/23 Page 2 of 2




           2. Counts Ten through Sixteen are DISMISSED WITH PREJUDICE as to Greystar

               Student Living Management Services, LLC.

           3. Plaintiff Katelyn D. Edwards is granted leave to amend. She shall file her amended

               complaint on or before April 28, 2023.

           4. The Court DEFERS consideration of whether to exercise supplemental jurisdiction

               over Ms. Edwards’ remaining state law claims. Accordingly, the Motions are

               DENIED to the extent that the seek dismissal of those claims. The denial is without

               prejudice to Defendants raising the same arguments after Ms. Edwards files her

               amended complaint.



       DATED this 4th day of August, 2023.


                                             BY THE COURT:


                                             /s/ Christy Criswell Wiegand
                                             CHRISTY CRISWELL WIEGAND
                                             United States District Judge



cc (via ECF email notification):

All Counsel of Record




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